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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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Application of
LUCIANA DE ANDRADE FASANO
20-mc-00239 (LAK)
For An Order to Take Discovery Pursuant
to 28 U.S.C. § 1732
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LEwis A. KAPLAN, District Judge.

Applicant seeks an order granting leave to obtain subpoenas to several identified and
unspecified number unidentified financial institutions, AT&T, an accounting firm and an individual
to provide documents and, at least in some instances, testimony in aid of proceedings in the courts of
Brazil. The proposed subpoenas, however, have not been submitted.

The application (Dkt 1) is granted to the following extent:
I; The Clerk, upon request of the applicant, shall issue subpoenas for the
production of the documents identified in paragraph 27 of applicant’s declaration (Dkt 1-1) to

JPMorgan Chase, Pershing LLC, the Bank of New York, Amarillo Bank, Chelsea Tavarez and M owery
& Schoenfeld LLC.

Dy The Clerk, upon request of the applicant, shall issue subpoenas for the testimony
of Chelsea Tavarez and Mowery & Schoenfeld LLC.

2, Any subpoena issued pursuant to this order shall be served together with a copy
of this Order. This Order is without prejudice to any objections or motion to quash or modify that any

person or entity served with a such subpoena may have or make.

The application is denied in all other respects without prejudice to any further
application that may be made.

SO ORDERED.

Dated: July 18, 2020

 

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f Lewis A./Saplan
Judge

United States Distri

 
